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                                                     U.S. Department of Justice
                                                     United States Attorney
                                                     Southern District of New York
                                                     86 Chambers Street
                                                     New York, New York 10007


                                                     December 15, 2020

By ECF
The Honorable Katherine H. Parker
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     Debra Early-King v. United States, 18 Civ. 142 (KHP)

Dear Judge Parker,

        This Office represents the United States, the defendant in the above-referenced Federal
Tort Claims Act case. We write on behalf of the parties pursuant to the Court’s orders directing
the parties to provide a status update with respect to settlement negotiations and other pre-trial
matters. The parties apologize for failing to file a status update on November 30, 2020, as
previously instructed, due to an oversight by both Plaintiff’s and Defendant’s counsel.

       Since the pretrial conference on November 9, 2020, the parties have continued to discuss
settlement. Although we have been unable to reach a resolution, the parties will continue to have
good-faith discussions to attempt to resolve this matter without need of mediation. In the
meanwhile, the parties have discussed internal deadlines for exchanging the necessary
information in order to file the Joint Pretrial Order by January 12, 2020, as previously directed
by the Court.

       Thank you for your consideration of this matter.

                                                     Respectfully submitted,

                                                     AUDREY STRAUSS
                                                     Acting United States Attorney

                                     By:             /s/ Stephen Cha-Kim
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